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Exhibit 12

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lNF°RMATlONAL

 

 

 

 

 

Anti-Money
Laundenng

 

NASD Provides
Guidance To l\/|ember
Firms Concerning
Anti-Money Laundering
Comp|iance Programs
Required By Federal Law

 

SUGGESTED ROUTING

 

 

 

The Suggestad Routing function is meant to aid
the reader of this document Each NASD member
firm should consider the appropriate distribution in
the context of its own organizational structure

0 Legal&Compliance
o Operations
0 Registration
0 Senior Management

 

KEY TOPICS

 

 

 

0 Compliance Programs
o Money Laundering

 

Executive Summary

On October 26, 2001, President
Bush signed the Uniting and
Strengthening America by
Providing Appropriate Tools
Required to intercept and Obstruct
Terrorism Act of 2001 (PATRlOT
Act).‘ Title lll of the PATRlOT

Act, referred to as the international
Money Laundering Abatement

and Anti-Terrorist Financing Act

of 2001 (lVloney Laundering
Abatement Act), imposes
obligations on broker/dealers
under new anti-money

laundering (AML) provisions

and amendments to the existing
Bank Secrecy Act (BSA)
requirements2

Among other things, the Money
Laundering Abatement Act
requires all financial institutions,
including broker/dealers, to
establish and lmp|ement, by
Aprll 24, 2002, AML programs
designed to achieve compliance
with the BSA and the regulations
promulgated thereunder. The
NASD reminds members that
violations of the AML laws could
lead to criminal prosecution.

On February 15, 2002, the NASD
filed with the Securities and
Exchange Commission (SEC)

a rule proposal to prescribe

the minimum standards required
for each member Grm's AML
compliance program. A copy of
this rule Hling can be found on the
NASD Regulation AML Web Page.
(See www.nasdr.com/money.asp.)
NASD Regulation‘s ANlL Web
Page also provides links to other
sites and documents to assist
members in understanding their
obligations under the AML rules
and regulations

On February 25, 2002, the SEC
published the proposed rule
change in the Federal Register.
The SEC received four comment
letters in response to the Federal
Register publication. Before

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becoming effective, the proposed
rule change must be approved
by the SEC.

The Securities industry
Association Anti-Money Laundering
Committee recently released a
preliminary guide for firms to

use when developing their AML
programs (SlA Guidance). The
S|A Guidance generally discusses
key elements for broker/dealers

to consider in developing effective
AML programs. NASD Regulation's
AML Web Page provides a link to
the SlA Guidance.

The NASD is issuing this Notice

to provide guidance to assist
members in developing AML
compliance programs that fit

their business models and needs.
A table of contents has been
provided for readers’ convenience.

Because the Department of
Treasury (Treasury) is still
developing AML rules, the NASD
will update its guidance as new
rules become final. |n the interim,
firms must comply with the current
requirements of the BSA and the
provisions of the Money Laundering
Abatement Act that now apply

to broker/dealers and should
familiarize themselves with the
proposed rules that Treasury

has issued to date. (For links to
Treasury’s proposed rules, see
www.nasdr.com/money.asp.)

Questionleurther
lnformation

Questions regarding this Notice
to Members may be directed to
Nancy Libin, Assistant General
Counse|, Oche of General
Counsel, NASD Regulatlon, at
(202) 728-8835; Grace Yeh,
Assistant General Counsel, at
(202) 728-6939; or Kyra
Armstrong. Senior Attorney,
Department of Member
Regulation, at (202) 728-6962.

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BACKGROUND

The PATR|OT Act is designed to detect, deter, and punish terrorists in the United States and
abroad and to enhance law enforcement investigation tools by prescribing, among other things,
new surveillance procedures, new immigration laws, as well as new and more stringent AML
laws. The Money Laundering Abatement Act expands and strengthens the AML provisions put
into place by earlier legislation.

Several provisions of the Money Laundering Abatement Act are relevant to NASD members.
Among other things, all broker/dealers must implement an anti-money laundering compliance
program by April 24, 2002. The Money Laundering Abatement Act also requires Treasury to
promulgate rules requiring broker/dealers to file suspicious activity reports (SARs), which identify
and describe transactions that raise suspicions of illegal activity, and to establish certain
procedures with regard to “correspondent accounts" maintained for foreign banks.a |n late
December 2001, Treasury released proposed rules regarding the filing of SARs by broker/
dealers“ and the maintenance of “correspondent accounts" for foreign banks.5 ln late February
2002, Treasury released proposed and Hna| rules governing information sharing among law
enforcement authorities, regulatory organizations and financial institutionss Treasury will
continue to issue proposed and final rules throughout the year governing and providing further
guidance with respect to customer identification, “correspondent accounts" with foreign banks,
and the application of AML rules to the brokerage industry, among other matters. The NASD will
continue to keep members apprised of AML rules and regulations that Treasury proposes and
those that Treasury adopts.

lNTRODUCTlON

Money laundering is generally defined as engaging in acts designed to conceal or disguise the
true origin of criminally derived proceeds so that the unlawful proceeds appear to have derived
from legitimate origins or constitute legitimate assets. Money laundering occurs in connection
with a wide variety of crimes, including, but not limited to, drug trafficking, robbery, fraud,
racketeering, and terrorism.

|n general, money laundering occurs in three stages. Cash first enters the financial system at
the “placement” stage, where the cash profits from criminal activity are converted into monetary
instruments, such as money orders or traveler’s checks, or deposited into accounts at financial
institutions At the “|ayering” stage, the funds are transferred or moved into other accounts or
other inancial institutions to separate further the proceeds from their criminal origin. At the
“integratlon" stage, the funds are reintroduced into the economy and used to purchase legitimate
assets or to fund further criminal or legitimate activities7

BrokerlDea|ers And Existing Anti-Money Laundering Laws

Broker/dealers are subject to most of the existing AML rules as well as the new AML provisions
of the Money Laundering Abatement Act, which are discussed in detail later in the document

Firms should be aware that there are potential severe civil and criminal penalties for violations
of AML laws. Under the criminal statutes, a person or entity could be criminally prosecuted for
assisting or facilitating a transaction involving money laundering by a customer if the firm (or
person) knew or was willfully blind to the fact that the transaction involved illegally obtained
funds.°

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Ai| broker/dealers have been and will continue to be subject to existing BSA reporting and
recordkeeping requirements as briefly summarized below:

- Currency Transaction Report (CTR): Broker/deaiers are required to file CTRs for
transactions involving currency that exceed $10,000. Because structuring is prohibited,
multiple transactions are treated as a single transaction if they total more than $10.000
during any one business day. CTRs are filed with the Financial Crimes Enforcement Network
(FinCEN), a bureau of Treasury.

~ Currency and Monetary instrument Transportation Report (CM|R): Any person who
physically transports, mails, or ships currency or other monetary instruments into or out of
the United States, in aggregated amounts exceeding $10,000 at one time, must report the
event on a CM|R. Any person who receives any transport, mail, or shipment of currency, or
other monetary instrument from outside the United States in an aggregate amount exceeding
$10,000 at one time also must report the receipt. CMle are filed with the Commissioner of
Customs.

~ Report of Foreign Bank and Financial Accounts (FBAR): Any person having a financial
interest in, or signature or other authority over, financial accounts in a foreign country is
required to report the relationship if the aggregate value of the accounts exceeds $10,000.
FBARs are filed with FinCEN.

¢ Funds Transfers and Transmitta|s: Broker/dealers effecting transmitta|s or transfers of
funds, including wire fund transfers, of $3,000 or more must collectl retain and record on the
transmittal order certain information regarding the transfer, including the name and address
of the transmitter and recipient, the amount of the transmittal order, the identity of the
recipients financial institution, and the account number of the recipient. Broker/dea|ers also
must verify the identity of transmitters and recipients that are not established customers

ln addition, broker/dealers that are subsidiaries of banks or bank holding companies currently are
required under the banking regulations to file SARs with FinCEN. Such broker/dealers currently
are required to report known or suspected federal criminal offenses, at specified dollar
thresholds, or suspicious transactions involving $5,000 or more that they suspect (1) involve
funds derived from illegal activity or an attempt to hide or disguise funds or assets derived from
illegal activity, (2) are designed to evade the requirements of the BSA, or (3) have no apparent
lawful or business purpose or vary substantially from normal practice. The NASD previously has
recommended that members report suspicious transactions and has advised firms that the failure
to do so could be construed as aiding and abetting money laundering violations, subjecting the
member to civil and criminal liability.° Some firrns, in fact, have been submitting SARs on a
voluntary basis. As discussed in more detail later in the document, all broker/dealers will soon

be required to file SARs.

New And Expanded Anti-Money Laundering Laws Applicable To BrokerlDea|ers

As noted above, the Money Laundering Abatement Act imposes signihcant new obligations on
broker/dealers through new AML provisions and amendments to the existing provisions of the
BSA. A brief summary of the new requirements along with anticipated effective dates is provided
below:

¢ Section 312 (Due Diligence Requirements): Section 312 requires special due diligence
for all private banking and “correspondent" bank accounts (accounts established to receive
deposits from, make payments on behalf of, or handle other financial transactions for a
foreign bank) involving foreign persons, even if opened before Congress passed the
PATR|OT Act.’° Treasury is required to delineate, by regulation, the special due diligence

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policies, proceduresl and controls by April 24, 2002. Regardless of whether final regulations
have been promulgated, the minimum due diligence requirements set forth in Section 312
(as discussed below in the “Anti-|Vloney Laundering Program Guidance" section) become
effective on July 23, 2002.

- Section 313 (Correspondent Account Prohibitions): Section 313 prohibits certain
financial institutions including broker/dealers from maintaining a “correspondent account"
for, or on behalf of, a foreign “shell” bank (a foreign bank with no physical presence in any
country). Financial institutions are also required to take reasonable steps to ensure that they
are not indirectly providing correspondent banking services to foreign shell banks through
foreign banks with which they maintain correspondent relationships Section 313 became
effective on December 26, 2001. Treasury released proposed regulations defining
“correspondent account" in late December 2001 .“

¢ Section 314 (Financia| lnstitution Cooperation Provisions): Section 314 addresses
increased cooperation among financial institutions regulatory authorities, and law
enforcement authorities Treasury published regulations implementing Section 314 in the
Federal Register on March 4, 2002.12 Treasury included a proposed rule to establish a
communication link between federal law enforcement and financial institutions to better share
information relating to suspected terrorists and money launderers. in addition, Treasury
issued an interim final rule, effective March 4, 2002, requiring financial institutions tc file an
initia|, and annual thereafter, certification (which can be completed online at FinCEN’s Web
Site at www.treas.gov/fincen) if they wish to share information regarding terrorist financing
and money laundering with other financial institutions or associations of financial
institutions13

~ Section 319(b) (Domestic and Foreign Bank Records Production): Section 319(b)
addresses the production of domestic and foreign bank records A financial institution is
required to produce account information relating to foreign bank accounts within seven
days in response to requests from federal law enforcement Section 319 became effective
on December 26, 2001. As mentioned above, Treasury released proposed rules regarding
maintaining “correspondent accounts" in late December 2001 ."

~ Section 326 (Customer identification Standards): Section 326 requires Treasury and the
SEC, jointly, to issue regulations that set forth minimum standards for customer identification
in the account opening process The regulations will need to require firms, at a minimum,
to implement “reasonable procedures” to verify the identity of the customer opening an
account, maintain records used to identify the customer, and consult government-provided
lists of known or suspected terrorists Fina| regulations prescribed under Section 326 will
take effect not later than October 26, 2002. Treasury and the SEC have not yet released
proposed regulations regarding customer identification

- Section 352 (AML Compliance Program Components): Section 352 requires all financial
institutions to develop and implement AML compliance programs on or before April 24,
2002. Section 352 requires the compliance programs, ata minimum, to establish (1) the
development of internal policiesl procedures, and controls (2) the designation of a
compliance officer with responsibility for a firm’s anti-money laundering program, (3) an
ongoing employee training program, and (4) an independent audit function to test the
effectiveness of the anti-mcney laundering compliance program. Section 352 further requires
Treasury by April 24, 2002, to issue regulations that consider the extent to which these
requirements correspond to the size, location, and activities of different Hnancia| institutions
Section 352 further allows Treasury, at its discretion, to issue additional requirements for
AML compliance programs before the April 24, 2002, deadline. As further discussed later in
the document, the NASD has proposed a rule setting forth the minimum standards for its
members' AML compliance programs

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- Section 356 (BrokerlDealer SAR Regulations): By July 1, 2002, Treasury must publish
final regulations requiring broker/dealers to file SARs Treasury released proposed broker/
dealer SAR regulations in late December 2001 .‘5 Under Treasury’s proposed regulations
the suspicious activity reporting requirement would become effective 180 days after the
date on which the final broker/dealer SAR regulations are published iri the Federal Register.

NASD ANTl-MONEY LAUNDER|NG PROGRAM RULE

On February 15, 2002, the NASD filed with the SEC a rule proposal that would set forth minimum
standards for broker/dealers' AML compliance programs16 As required by the Money Laundering
Abatement Act itself, the rule proposal would require firms to develop and implement a written
AML compliance program by April 24, 2002. The proposed rule would require the program to be
approved in writing by a member of senior management and be reasonably designed to achieve
and monitor the member’s ongoing compliance with the requirements of the BSA and the
implementing regulations promulgated thereunder. The proposed rule change Would require
firms at a minimum, to:

(1) establish and implement policies and procedures that can be reasonably expected
to detect and cause the reporting of suspicious transactions;

(2) establish and implement policiesl procedures and internal controls reasonably
designed to achieve compliance with the BSA and implementing regulations;

(3) provide for independent testing for compliance to be conducted by member
personnel or by a qualified outside party;

(4) designate an individual or individuals responsible for implementing and monitoring
the day-to-day operations and internal controls of the program; and

(5) provide ongoing training for appropriate personnel.

Each firm’s AML program must be designed to ensure compliance with the new provisions of
the Money Laundering Abatement Act, the earlier provisions of the BSA, and the regulations
promulgated thereunder. To be effective, those procedures must reflect the firm’s business
model and customer base. Further, in developing program criteria, firms should consider the
guidelines established by the United States Sentencing Commission in the U.S. Sentencing
Commission Guide|ines for organizations as well as the fiduciary responsibilities of officers
and directors to ensure that the firm’s compliance programs are viable and effective."

Regardless of when and in what form the SEC approves the NASD proposed AML compliance
rule, all firms are required by federal law (the Money Laundering Abatement Act) to have AML
programs in place by April 24, 2002,18 These AML programs must meet the minimum
requirements articulated in Section 352 of the Money Laundering Abatement Act."

Members should keep in mind that the obligation to develop and implement an AML compliance
program is not a "one-size-fits-all" requirement The general nature of the requirement reflects
Congressional intent that each financial institution should have the flexibility to tailor its AML
program to fit its business This flexibility is designed to ensure that all entities covered by the
statute, from the very large financial institutions to the small firms will institute effective and
appropriate policies and procedures to monitor for AML compliance.i° |n this regard, each
broker/dealer, in developing an appropriate AML program that complies with the Money
Laundering Abatement Act, should consider factors such as its size, location, business activities
the types of accounts it maintains and the types of transactions in which its customers engage.

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ANTl-MONE¥ LAUNDER|NG PROGRAM GU|DANCE
The required elements of an AML program are discussed in detail below.

Develop internal Policies, Procedures, And Controls

Broker/dealers must develop internal policies procedures and controls to ensure compliance
with the AML laws, The AML procedures should contain a statement that sets forth the member’s
policy of prohibiting money laundering and its overall efforts to detect, deter, and prevent any
such violations Broker/dealers also must establish internal controls to ensure that their AML
policies and procedures are being enforced. As with any supervisory procedure, the firm must
establish and implement controls and written procedures that explain the procedures that must
be followed, the person responsible for carrying out such procedures how frequently such
procedures must be performed, and how compliance with the procedures should be documented
and tested.

Firms must determine the manner in which AML procedures that address the following (each of
which will be discussed more fully below) will apply to various accounts:

~ account opening and maintenance, including verification of the identity of the customer;
~ opening and maintaining “correspondent accounts" for foreign banks;

v monitoring of account activities including but not limited to, trading and the flow of money
into and out of the account, the types amount, and frequency of different financial
instruments deposited into and withdrawn from the account, and the origin of such deposits
and the destination of withdrawals;

¢ separating the duties of employees where feasible to ensure a system of checks and
balances (for example, firms may want to ensure that persons who handle cash do not
open accounts or file CTRs);

~ monitoring for, detecting, and responding to "red flags";
v responding to regulatory requests for AML information;

- establishing controls and monitoring employees' trading and Hnancial activity in employee
accounts; and

~ ensuring that AML compliance programs contain a mechanism or process for the Hrm's
employees to report suspected violations of the firm's AML compliance program procedures
and policies to management, confidentia||y, and without fear of retaliation.

Identification And Verification Of Account Holders

Opening Accounts

Prior to the enactment of the Money Laundering Abatement Act, broker/dealers already had
significant obligations to gather information about their customers in order to, among other
things know their customers NASD Rule 3110 requires member firms to obtain certain
information about their customers when opening an account, including the following: the
customer’s name and residence; whether the customer is of legal age; the signature of the
registered representative introducing the account and signature of the member or partner, officer,
or manager who accepts the account; and if the customer is a corporation, partnership, or other

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legal entity, the names of any persons authorized to transact business on behalf of the entity.
Member firms are also required to make reasonable efforts to obtain the following additional
information (for accounts other than institutional accounts and accounts in which investments
are limited to transactions in open-end investment company shares not recommended by the
member or its associated persons) prior to the settlement of an initial transaction in the account:
a customer's tax identification and Social Security number; the customer's occupation and name
and address of the employer; and whether the customer is an associated person of another
member.

Member Hrms also are required under NASD Rules 2110 and 2310 to obtain additional customer
information. Members are required under NASD Rule 2110 to comply with general “Know Your
Customer" requirements Pursuant to these requirements members`must make reasonable
efforts to obtain certain basic financial information from customers so that members can protect
themselves and the integrity of the securities markets from customers who do not have the
Hnancia| means to pay for transactions.z' NASD Rule 2310 relates to a member’s suitability
obligations to its customers and requires each member to use reasonable efforts to obtain
information concerning a customer's financial status tax status and investment objectives prior
to making any recommendations to the customer regarding the purchase, sa|e, or exchange of
securities

The information required under NASD Rules 3110, 2110, and 2310 is the starting point for
new AML customer identification procedures The Money Laundering Abatement Act imposes
additional customer identihcation requirements on member firms Effective October 26, 2002
(or earlier, if final customer identification regulations are effective prior to October 26, 2002),
broker/dealers are required to implement reasonable procedures for identifying customers
and verifying their information.22 These procedures at a minimum, must require a firm:

- to verify, to the extent reasonable and practicab|e, the identity of any customer seeking to
open an account;23

¢ to maintain records of information to verify a customer’s identity; and

» to check that a customer does not appear on any list of known or suspected terrorists or
terrorist organizations such as those persons and organizations listed on Treasury's Office
of Foreign Assets Control (OFAC) Web Site (www.treas.gov/ofac) (and available on
www.nasdr.com/money.asp) under “Terrorists" or “Specially Designated Nationals and
B|ocked Persons" (SDN List), as well as the list of embargoed countries and regions
(col|ectively, the OFAC List).“‘

Under the new AML customer identification requirements broker/dealers will be required to
make reasonable efforts to obtain and verify information about a customer. lf the customer is an
individual, a firm will need, to the extent reasonable and practicable, to obtain and verify certain
information concerning the individual's identity, such as the individual’s name, address date of
birth, and government issued identihcation number. Possible sources of this information include:

- physical documents such as a driver’s license, passport, government identitication, or an
alien registration card,25 or, for businesses a certificate of incorporation, a business license,
any partnership agreements any corporate resolutions or other similar documents or

- databases, such as Equifax, Experion, Lexis/Nexis, or other in-house or custom databases.

Firms opening accounts should verify the identification information at the time the account is
opened, or within a relatively short time period thereafter (e.g., within nve business days after
account opening). Because of the unknown risk that the prospective customer could be involved

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in criminal activity, members should consider, depending on the nature of a transaction and an
account, not effecting a transaction prior to verifying the information. lf a potential customer
refuses to provide any of the information described above, or appears to have intentionally
provided false or misleading information, a Hrm should not open the account. lf an existing
customer fails to provide the requested information, the firm, after considering the known

and unknown risks involved, may consider closing the account Moreover, in either of these
situations the firm’s AML compliance personnel should be notified so that a determination can
be made as to whether the circumstance should be voluntarily reported to FinCEN or OFAC,
as appropriate.

ln the context of AML compliance, members should implement procedures that allow the firm

to collect and use information concerning the account holder’s wealth, net worth, and sources
of income to detect and deter possible money laundering activity. Such a review should be
integrated into the new accounts supervisor’s existing procedures before such supervisor
authorizes the opening of an account. l\/loreover, the supervisors review should be documented
and reviewed to ensure that the account-opening procedures are being conducted proper|y.
Firms should consider using a checklist that lists the types of information required and
documents explanations for why an account was opened absent such information,

Online Brokers

Online brokers generally do not meet or speak directly to their prospective or existing clients
These firms must acquire information about customers and, as mentioned earlier, make
maximum use of other means of verifying customer identity, such as electronic databases
(Equifax, Experion, LexislNexis, or other in-house or custom databases). As is required of all
firms such verification of customer information must take place at the time the account is opened
or within a short period thereafter (e.g., Hve business days). Online firms should also consider
conducting computerized surveillance of account activity to detect suspicious transactions and
activity. Given the global nature of online brokerage activity, it is essential that online brokers
confirm the customer data and review the OFAC List to ensure that customers are not prohibited
persons or entities and are not from embargoed countries or regions

Additional Due Diligence When Opening An Account

Broker/dea|ers should perform the following additional due diligence when opening an account,
depending on the nature of the account, and to the extent reasonable and practicable:

v inquire about the source of the customer's assets and income so that the firm can determine
if the inflow and outflow of money and securities is consistent with the customer's financial
status;

~ gain an understanding of what the customer's likely trading patterns will be, so that any
deviations from the patterns can be detected later on, if they occur;

¢ maintain records that identify the owners of accounts and their respective citizenship;

- require customers to provide street addresses to open an account, and not simply post office
addresses or “mai| drop” addresses

- periodically contact businesses to verify the accuracy of addresses the place of business
the telephone, and other identifying information; and

- conduct credit history and criminal background checks through available vendor databases

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Prohibitions On U.S. Correspondent Accounts With Foreign Shell Banks
And Special Due Diligence For Correspondent Accounts

Broker/dealers are prohibited from establishing, maintaining, administering, or managing a
“correspondent account" (see note 3) in the United States for an unregulated foreign shell bank,
Firms should have procedures in place to ensure that this does not occur and should
immediately terminate such accounts if they have any. The broker/dealer’s AML compliance
personnel should be notified upon discovery or suspicion that the Hrm may be maintaining or
establishing a “correspondent account" in the United States for a foreign shell bank.

The Money Laundering Abatement Act requires broker/dealers to maintain records identifying
the owners of foreign banks that maintain “correspondent accounts" in the United States and
the name and address of an agent residing in the United States authorized to accept service of
legal process for such banks26 Brokerldea|ers should require their foreign bank account holders
to complete model certifications issued by Treasury to the extent possible. U.S. depository
institutions and broker/dealers can send the certihcation forms to their foreign bank account
holders for compietion. The certification forms generally ask the foreign banks to confirm that
they are not shell banks and to provide the necessary ownership and agent information, Use

of the certiEcation forms will help firms ensure that they are complying with requirements
concerning “correspondent accounts" with foreign banks and can provide a broker/dealer with

a safe harbor for purposes of complying with such requirements27 Firms are required to recertify
(if relying on the certification fonns) or otherwise verify any information provided by each foreign
bank, or othenivise relied upon, at least every two years or at any time the firm has reason to
believe that the information is no longer accurate.

|n addition, broker/dealers will be required under Section 312 of the Money Laundering
Abatement Act to establish appropriate, specific, and, where necessary, enhanced due diligence
policies procedures and controls that are reasonably designed to detect and report instances
of money laundering for any “correspondent account" established, maintained, administered,

or managed for a foreign bank. At a minimum, in the case of foreign banks licensed by certain
high-risk jurisdictions cr operating under an offshore banking license, broker/dealers are required
to take reasonable steps:

v to determine the ownership of the foreign bank;
¢ to conduct enhanced scrutiny of the account to detect and report suspicious activity; and

~ to determine whether the foreign bank maintains “correspondent accounts" for any other
bank, and if so, the identity of those banks28

Special Due Diligence For Private Banking Accounts

Simi|ar|y, the Money Laundering Abatement Act requires broker/dealers at a minimum, to take
reasonable steps to determine the identity of the nominal and beneficial account holders of, and
the source of funds deposited into, a private banking account maintained by or on behalf of a
non-U.S. citizen, and to conduct enhanced scrutiny of accounts requested or maintained by,

or on behalf of, a senior foreign political figure,“ or any immediate family member or close
associate of a senior foreign political figure. A private bank account is an account (or combination
of accounts) that requires an aggregate deposit of funds or other assets of more than $1,000,000
established on behalf of one or more individuals who have a direct or beneficial ownership
interest in the account, and is assigned to, or administered by, in Whole or in part, an ofEcer,

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employee, or agent of a financial institution acting as a liaison between the institution and the
direct or beneficial owner of the account30 This enhanced monitoring or scrutiny should be
reasonably designed to detect and report transactions that may involve the proceeds of foreign
official corruption.31 Brokerldea|ers should monitor future pronouncements from Treasury, while
also determining the extent to which they offer “private banking accounts" and ensure that their
AML compliance program includes enhanced monitoring and scrutiny of accounts requested or
held on behalf of foreign officials who may be involved in corrupt activities The special due
diligence requirements discussed in this section will become effective on July 23, 2002,
regardless of whether Treasury has promulgated final regulations

Monitoring Accounts For Suspi'cious Activity

The Money Laundering Abatement Act requires Treasury to adopt regulations requiring broker/
dealers to me SARs32 Under Treasury's proposed regulations SARs would be filed with FinCEN.
Brokerldea|ers would be required to file SARs for:

~ any transaction conducted or attempted by, at or through a broker/dealer involving
(separately or in the aggregate) funds or assets of $5,000 or more for which:

- the broker/dealer detects any known or suspected federal criminal violation involving
the broker/dealer, or

» the broker/dealer knows suspects or has reason to suspect that the transaction:
v involves funds related to illegal activity,33
- is designed to evade the regulations or

v has no business or apparent lawful purpose and the broker/dealer knows of no
reasonable explanation for the transaction after examining the available facts
including the background and possible purpose of the transaction.

A|though the reporting threshold begins at $5,000, in its proposed regulations Treasury notes
that a risk-based approach to developing compliance procedures that can be reasonably
expected to promote the detection and reporting of suspicious activity should be the focus of a
broker/dealer's AML compliance program. Treasury further notes that a compliance program that
allows for the review of only those transactions that are above a set thresho|d, regardless of
whether transactions at a lower dollar threshold may involve money laundering or other risks
would probably not be a satisfactory program.'~"4 Brokerldea|ers should tile a SAR and in some
circumstances notify law enforcement authorities of all transactions that arouse articulable
suspicion that proceeds of crimina|, terrorist, or corrupt activities may be involved,

Treasury could amend its proposed regulations based on comments it receives from interested
parties Treasury is required to issue final SAR regulations by July 1, 2002, and firms will be
required to file SARs beginning 180 days after final broker/dealer SAR regulations are published
in the Federal Register. To demonstrate a strong commitment to compliance with AML principles
and goals broker/dealers should consider filing SARs voluntarily prior to the effective date of the
regulations NASD Regulation will keep members informed as Treasury's proposed regulations
are amended and finalized.

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Money Laundering “Red Flags”

Brokerldea|ers need to look for signs of suspicious activity that suggest money laundering35 lf
a broker/dealer detects “red flags” it should perform additional due diligence before proceeding
with the transaction. Examp|es of “red flags” are described below:

The customer exhibits unusual concern regarding the firm's compliance with government
reporting requirements and the firm’s AML policies particularly with respect to his or her
identity, type of business and assets or is reluctant or refuses to reveal any information
concerning business activities or furnishes unusual or suspect identification or business
documents

The customer wishes to engage in transactions that lack business sense or apparent
investment strategy, or are inconsistent with the customer’s stated business strategy.

The information provided by the customer that identifies a legitimate source for funds is false,
misleading, or substantially incorrect

Upon request, the customer refuses to identify or fails to indicate any legitimate source for
his or her funds and other assets

The customer (or a person publicly associated with the customer) has a questionable
background or is the subject of news reports indicating possible crimina|, civil, or regulatory
violations

The customer exhibits a lack of concern regarding risks commissions or other transaction
costs

The customer appears to be acting as an agent for an undisclosed principal, but declines
or is reluctant, without legitimate commercial reasons to provide information or is otherwise
evasive regarding that person or entity.

The customer has difficulty describing the nature of his or her business or lacks general
knowledge of his or her industry,

The customer attempts to make frequent or large deposits of currency, insists on dealing
only in cash equivalents or asks for exemptions from the firm’s policies relating to the
deposit of cash and cash equivalents

The customer engages in transactions involving cash or cash equivalents or other monetary
instruments that appear to be structured to avoid the $10,000 government reporting
requirements especially if the cash or monetary instruments are in an amount just below
reporting or recording thresholds.

For no apparent reason, the customer has multiple accounts under a single name or multiple
names with a large number of inter-account or third-party transfers

The customer is from, or has accounts in, a country identified as a non-cooperative country
or territory by the Financial Action Task Force (FATF).”

The customer's account has unexplained or sudden extensive wire activity, especially in
accounts that had little or no previous activity.

The customer's account shows numerous currency or cashiers check transactions
aggregating to significant sums

The customer's account has a large number of wire transfers to unrelated third parties
inconsistent with the customer's legitimate business purpose.

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¢ The customer's account has wire transfers that have no apparent business purpose to or
from a country identified as a money laundering risk or a bank secrecy haven.

¢ The customer's account indicates large or frequent wire transfers immediately withdrawn
by check or debit card without any apparent business purpose.

- The customer makes a funds deposit followed by an immediate request that the money be
wired out or transferred to a third party, or to another firm, without any apparent business
purpose.

¢ The customer makes a funds deposit for the purpose of purchasing a long-term investment
followed shortly thereafter by a request to liquidate the position and transfer of the proceeds
out of the account

~ The customer engages in excessive journal entries between unrelated accounts without any
apparent business purpose.

~ The customer requests that a transaction be processed in such a manner to avoid the firm's
normal documentation requirements

- The customer, for no apparent reason or in conjunction with other “red flags” engages in
transactions involving certain types of securities such as penny stocks Regulation “S"
(Reg S) stocks and bearer bonds which although legitimate, have been used in connection
with fraudulent schemes and money laundering activity. (Such transactions may warrant
further due diligence to ensure the legitimacy of the customer's activity.)

~ The customer's account shows an unexplained high level of account activity with very low
levels of securities transactions

- The customer maintains multiple accounts or maintains accounts in the names of family
members or corporate entities for no apparent business purpose or other purpose.

- The customer’s account has inflows of funds or other assets well beyond the known income
or resources of the customer.31

The above-listed money laundering “red flags” are not exhaustive; however, an awareness of the
“red flags” will help ensure that broker/dealer personnel can identify circumstances warranting
further due diligence. Appropriate “red flags” should be described in the written policies and AML
compliance procedures of the broker/dealer.

Reporting Procedures

A|though final regulations concerning the filing of SARs may not be adopted until July 1, 2002,
voluntary reporting is useful to the government and helpful to firms in order to provide a defense
to charges of aiding and abetting money laundering violations Furthermore, in anticipation of the
adoption of the final broker/dealer SAR requirements all broker/dealers should be preparing to
establish and implement procedures to detect and report suspicious transactions by means of
SARs Firms should implement systems preferably automated ones that would allow firms to
monitor trading, wire transfers and other account activity to allow firms to determine when
suspicious activity is occurring. If a firm decides to monitor customer accounts manual|y, it must
review a sufEcient amount of account activity to ensure the detection of suspicious activity by
allowing the member to identify patterns of activity and more importantly, new patterns or
patterns that are inconsistent with the customer's financial status or make no economic sense.

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Exception reports should consider the transaction size, location, type, number, and the nature of
the activity. Firms should create guidelines for employees that identify examples of suspicious
activity that may involve money laundering and form lists of high-risk clients whose activities may
warrant further scrutiny. Firms should develop procedures for following-up on transactions that
have been identified as suspicious or high-risk.

Brokerldea|ers should also develop administrative procedures concerning SARs The procedures
should address the process for filing SARs and reviewing SAR filings and the frequency of filings
for continuous suspicious activity. ln addition, a broker/dealer should consider requiring that all

of its SAR filings be reported periodically to its Board of Directors and/or to senior management
in the event of a high-risk situation, broker/dealers should require that a report be made
immediately to the Board of Directors and/or senior management.”

Recordkeeping And Disclosure

Firms should develop procedures to maintain the confidentiality of the SAR filings and to
maintain copies of SARs for a Hve-year period. Firms are prohibited from notifying any person
involved in a reported transaction that the transaction has been reported on a SAR. ln addition,
firms may not disclose SARs or the fact that a SAR was filed, other than to law enforcement
agencies or securities regulators Firms must also have procedures in place to ensure the denial
of any subpoena requests for SARs or information in SARs and for informing FinCEN of any
subpoena received. lt may be advisable to segregate SAR filings and supporting documentation
from other books and records of the firm to avoid violating the prohibitions on disclosure of these
records The broker/dealer should also establish procedures and identify a contact person to
handle requests for a subpoena or other requests that call for disclosure of a SAR.

Currency Transaciion Reports

Brokerldea|ers should have procedures to ensure compliance with the BSA provision requiring
broker/dealers to file CTRs with FinCEN.

Currency And Monetary lnstrument Transportation Reports

Brokerldea|ers should have procedures to ensure compliance with the BSA provision requiring
broker/dealers to file CM|Rs with the Commissioner of Customs when any person physically
transports receives mails or ships currency or other monetary instruments into or out of the
United States in aggregated amounts exceeding $10,000 at one time.

Procedures For Sharing Information With And Responding To Requests For Information
From Federal Law Enforcement Agencies

Brokerldea|ers should develop procedures to handle requests for information from FinCEN
relating to money laundering or terrorist activity. Under Treasury's proposed regulations
implementing Section 314, which were published in the Federal Register on March 4, 2002,
FinCEN may require broker/dealers to search their records to determine whether they maintain
or have maintained any account for, or have engaged in any transaction with, each individual,
entity, or organization named in FinCEN’s request. lf a broker/dealer identifies an account or
transaction identified by FinCEN. it would be required to report the identity of the individual,
entity, or organization, the account number, all identifying information provided by the account
holder when the account was established, and the date and type of transaction. Brokerldea|ers
would be required to report the information to FinCEN as soon as possible either by e-mai| to
patriot@fincen.treas.gov, by calling the Financial institutions Hot|ine (1-866-556~3974), or

by any other means that FinCEN specifies

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Brokerldea|ers also should identify contact persons and have procedures in place for providing
information to and handling requests from enforcement authorities about the firms' AML efforts
as well as customers engaged in possible money laundering This information must be provided
to the appropriate agency and made available at a specified location when requested. Firms
should establish procedures to provide such information not later than seven days after receiving
a written enforcement agency request

Firms should also have procedures in place to terminate a correspondent relationship with a
foreign bank within 10 business days of receiving written notice from Treasury or the United
States Attomey General that the foreign bank failed either to comply with a summons or
subpoena or to contest it in United States court.

Finally, in the course of performing due diligence or during the opening of an account, firms
should immediately contact Federal law enforcement by telephone in appropriate emergency
situations as described below:

- a customer is listed on the OFAC List;
- a customer's legal or beneficial account owner is listed on the OFAC List;

~ a customer attempts to use bribery, coercion, undue influence, or other inappropriate
means to induce a broker/dealer to open an account or proceed with a suspicious or
unlawful activity or transaction; and

v any other situation that a firm reasonably determines requires immediate government
intervention.

Voluntary Information Sharing Among Financial institutions

To the extent desired and/or appropriate, broker/dealers should have procedures in place for
sharing information with other financial institutions about those suspected of terrorism and
money laundering. Under Treasury's interim rule, which became effective on March 4, 2002,
broker/dealers that share this information must file an annual certification with FinCEN.“‘3 The
certification requires broker/dealers to take steps necessary to protect the confidentiality of the
information and to use the information only for purposes specified in the rule. The certincation
can be found at: www.treas.gov/fincen. Brokerldea|ers should have adequate procedures to
protect the security and conhdentiality of such information.

Designate Compliance Officer

Every broker/dealer compliance program must designate a compliance ofhcer (“AML Compliance
Officer") to help administer the firm's AML compliance program efforts Brokerldea|ers should
vest this person with full responsibility and authority to make and enforce the firm’s policies and
procedures related to money laundering. The AML Compliance Officer does not need to be the
firm’s current compliance officer. Some larger firms have placed this responsibility on the firm's
risk manager. Firms may, however, consider incorporating AML compliance requirements into
the existing duties of a firm compliance ofhcer. Whomever the firm designates as its AML
Compliance OfEcer should have the authority, knowledge, and training to carry out the duties
and responsibilities of his or her position.

The AML Compliance Ocher should monitor compliance with the irm's AML program and help
to develop communication and training tools for employees The AML Compliance Officer should
also regularly assist in helping to resolve or address heightened due diligence and “red flag”
issues

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The AML Compliance Officer should ensure that AN|L records are maintained properly and that
SARs are filed as required pursuant to the firm's procedures ln short, the AML Compliance
Ocher should be the primary contact for the firm on AML compliance implementation and
oversight

Finally, to the extent applicab|e, the AML Compliance Officer should report to a member of

the Board of Directors (or other high level executive officer) on AML compliance issues This
senior officer or director should communicate with firm employees on AML issues to further
demonstrate the firm’s commitment to AML compliance. The firm’s senior management should
work with the AML Compliance thcer to help ensure that the Hrm's AML policies procedures
and programs meet all applicable government standards and that they are effective in detecting,
deterring, and punishing or correcting AiVlL misconduct The firm's senior management also
should work with the AML Compliance Officer to ensure that the AML compliance policies
procedures and programs are updated and reflect current requirements

Establish An Ongoing Training Program

The Money Laundering Abatement Act requires Hmis to develop ongoing employee training
programs on AML issues The AML employee training should be developed under the leadership
of the AML Compliance Officer or senior management Educational pamphlets videos, intranet
systems in~person lectures and explanatory memos are ali appropriate training vehicles for AML
training. The training may vary based on the type of firm and its size, its customer base, and its
resources The NASD urges its members to instruct their employees about the following topics
at a minimum:

¢ how to identify “red flags” and possible signs of money laundering that could arise
during the course of their duties;

- what to do once the risk is identified;

~ what their roles are in the firm's compliance efforts;
¢ how to perform their roles;

~ the firm's record retention policy; and

¢ disciplinary consequences including civil and criminal penalties for non-compliance
with the Money Laundering Abatement Act.

The NASD advises its members at a minimum, to implement AML training on an annual basis
Frequent evaluation of training programs may be necessary to ensure that Hrms are informing
employees about any new developments with the rules and regulations As noted above, firms
should update their training materials as necessary, to reflect new developments in the law.
incorporation of money laundering compliance training into continuing education programs is
recommended for both registered representatives and supervisors

A broker/dealer should scrutinize its operations to determine if there are certain employees

who may need additional or specialized training due to their duties and responsibilities For
example, employees in Compliance, Margin, and Corporate Security may need more
comprehensive training. The firm should train these employees or have these employees receive
the appropriate instruction to ensure compliance with the Money Laundering Abatement Act.

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Establish An independent Testing Function

|n addition to the firm's overall supervisory responsibility to ensure that its procedures are being
followed properly, broker/dealers must have an independent testing function to review and
assess the adequacy of and level of compliance with the Hrm’s AML compliance program. Either
member personnel or a qualified outside party may perform the testing function, depending iri
part on the firm’s size and resources Smaller firms for example, may consider using a qualified
outside party to complete this function or they may find it more cost effective to use appropriately
trained firm personnel. |f a firm uses internal personnel, sufficient separation of functions should
be maintained to ensure the independence of the internal testing personnel.

The independent testing should be performed annually. After a test is complete, the internal
testing personnel or qualified outside party should report its findings to senior management or to
an internal audit committee, as appropriate. The firm should ensure that there are procedures for
implementation of any of the internal testing personnel’s or third party’s recommendations and
corrective or disciplinary action as the case may warrant

lNTRODUC|NG BROKERS AND CLEAR|NG BROKERS

The NASD wishes to emphasize that both introducing brokers and clearing brokers have
responsibilities under the Money Laundering Abatement Act. Al| broker/dealers should devote
special attention to potentially high-risk areas for money |aundering. Both introducing brokers and
clearing brokers must establish and implement the appropriate AML procedures identified above
to comply with the Money Laundering Abatement Act's requirements

|n order to detect suspicious activity, it is imperative that introducing and clearing brokers work
together to achieve compliance with the Money Laundering Abatement Act. For instance,
introducing brokers generally are in the best position to “know the customer,” and thus to identify
potential money laundering concerns at the account opening stage, including verification of the
identity of the customer and deciding whether to open an account for a customer.‘° ln essence,
introducing brokers should understand that they are the nrst line of defense in detecting and
deterring suspicious activity. Clearing firms in turn, may be in a better position to monitor
customer transaction activity, including but not limited to, trading, wire transfers and the deposit
and withdrawal into and out of accounts of different financial instruments To assist introducing
brokers and, more importantly, satisfy their own obligations under federal law, clearing firms
should establish both automated systems to detect suspicious activity and procedures to share
AlVlL information and responsibilities with introducing brokers consistent with the Money
Laundering Abatement Act. For example, both the introducing broker and clearing firm may have
information concerning a customer relevant to an assessment of whether a wire transfer out of
an account to a particular destination raises any AML concerns

importantly, introducing brokers must have a basis for assuring themselves that their clearing
firms are monitoring customer account activity on their behalf. Similar|y, clearing firms must have
a basis for assuring themselves that their introducing firms are following appropriate customer
identification procedures Responsibi|ities relating to AML compliance should be clearly allocated
between the parties and such responsibilities should be specified in the parties' clearing
agreements pursuant to NASD Rule 3230. Any such allocation, however, would not relieve either
party from its independent obligation to comply with AML laws.

in short, introducing brokers and clearing firms need to work together to allow each firm to meet
its obligation to comply with the AN|L laws

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CONCLUS|ON

As stated above, the NASD will update its guidance as new AML rules and regulations become
final. in the interim, the NASD reminds members to comply with the provisions of the Money
Laundering Abatement Act that currently apply to broker/dealers A|though the obligation to
develop and implement an AML compliance program is not a “one-size-fits-all" requirement all
broker/dealers must have an AML compliance program designed to achieve compliance with the
BSA and the regulations promulgated thereunder.

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ENDNOTES

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Uniting and Strengthening America by
Providing Appropriate Tools Required to
intercept and Obstruct Terron`sm Act of
2001, Pub. L. No. 107-56, 115 Stat. 272
(2001).

31 U.S.C. §§ 5311, et seq.

ln its proposed rules released in
December 2001. Treasury defines
“correspondent account" for purposes
of broker/dealers as "an account
established to receive deposits from,
make payments on behalf of a foreign
bank, or handle other financial
transactions related to such bank.”
See 66 Fed. Reg. 67,459 (December
28. 2001 ). The NASD will keep
members apprised of any changes

to the definition of “correspondent
account" when Treasury releases its
final rules in this area. Please also note
that Treasury's definition is different
from the definition of correspondent
brokerage accounts

See 66 Fed. Reg. 67.669 (December
31, 2001 ). NASD Regu|ation’s AML
Web Page provides links to Treasury's
proposed and nna| regulations

See 66 Fed. Reg. 67,459 (December
28. 2001).

See 67 Fed. Reg. 9873 (March 4,
2002); 67 Fed. Reg. 9879 (March 4,
ZOOZt

See generally Anti-Money Laundering,
Efforts in the Securities industry, Report
to the Chairman, Pen'nanent
Subcommittee on investigations
Committee on Govemmental Affairs,
U.S. Senate. GAO-02-111 (October
2001)

Title 18 U.S.C. §§ 1956 and 1957 make
knowingly engaging in. or attempting to
engage in, financial transactions
involving the proceeds of certain
unlawful activities a criminal offense.
Thereicre, under the criminal statutes a
person or entity could be prosecuted for
assisting or participating in money
laundering perpetrated by its customer
if the hrm (or perscn) knew or was

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willfully blind to the fact that the
transaction involved illegal funds
Criminai penalties include fines up to
$500,000 or twice the value of the
property involved iri the transaction.
whichever is greater, and prison
sentences as long as 20 years. ln
addition to criminal penalties violators
may face civil penalties up to the
greater of the value of the propertyl
funds or monetary interests involved in
the transaction or $10.000. as well as
forfeiture of any property involved in the
transaction. The BSA also imposes
criminal and civil penalties for violations
of the BSA or its implementing
regulations Generally, a person can be
subject to a criminal fine of up to
$250,000 or imprisonment of up to 5
years or both. A person who violates
the BSA while violating another law of
the United States or engaging in a
pattem of illegal activity, is subject to a
criminal fine of up to $500,000 or

imprisonmenth up to 10 years or both.

The Money Laundering Abatement Act
adds additional criminal and civil
penalties that can be up to two times
the amount of the transaction, not to
exceed $1,000,000 for violations of
certain BSA provisions

See NASD Notice to Members 89-12,
Reporting Suspicious Currency and
Other Questr'onable Transactions to
the IRS/Customs Hotline.

See note 3.

See 66 Fed. Reg. 67,459 (December
28, 2001 ).

See 67 Fed. Reg. 9873 (March 4,
2002); 67 Fed. Reg. 9879 (March 4.
2002).

See 67 Fed. Reg. 9873 (March 4.
2002); 67 Fed. Reg. 9879 (March 4,
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See 66 Fed. Reg. 67,459 (December
28. 2001).

See 66 Fed. Reg. 67,669 (December
31,2001;

See File No. SR-NASD-2002-24.

17

17 The U.S. Sentencing Commission

Guidelines for organizations set out

the following criteria for an effective
corporate compliance programs

(1) whether the company's compliance
standards and procedures are
reasonably capable of reducing the
prospect of criminal activity; (2) whether
there is oversight of the compliance
program by high-level personnel;

(3) whether the company exercises due
care in delegating substantial authority;
(4) whether the company communicates
effectively to all levels of employees
(5) whether the company has in place
viable systems for monitoring, auditing,
and reporting suspected misconduct
without fear of reprisal; (6) whether

the company enforces compliance
standards in a consistent manner using
appropriate disciplinary measures; and
(7) whether the company has taken
reasonable steps tc respond to and
prevent further similar offenses upon
detection of a violation. See also ln Re
Caremark lntemational lnc. Derivative
Litigation, 698 A.2d 959 (Del. Ch.
1996),' McCa/l V. Soott, 250 F. 3d 1997
(9th Cir. 2001).

18 The New York Stock Exchange (NVSE)

has also proposed Rule 445, which
mirrors the NASD's proposed rule.
See File No. SR-NYSE-2002-10
(filed with the SEC on February 27.
2002).

19 31 U.S.C. § 531 S(h) (amended by

Section 352 of the Money Laundering
Abatement Act).

20 See USA Patn'of Act of 2001 .'

21

Consideiation of H.R. 3162 Before

the Senate (Oclober 25. 2001)
(statement of Sen. Sarbanes):
Financial Anti-Terrorism Act of 2001 :
Consideration Under Suspension of
Rules of H.R. 3004 Before the House
of Representatives (October 17. 2001)
(statement of Rep. Kelly) (provisions of
the Financial Anti~Terrorism Act of 2001
were incorporated as Title |ll iri the
PATRlOT Act.)

See Notice to Members 96-32: Notice
to Members 96-70,' and Notice to
Members 99-11.

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22 Treasury has until October 26, 2002
to promulgate additional customer
identification requirements

23 Firms should authenticate customer
identity at the time of account opening,
and not just when an account shows
suspicious activity.

24 See Notice to Members 01-67, Termrist
Activity. Executive Order 13224
prohibits transactions with those
persons and organizations listed on the
OFAC Web Site on the SDN List as well
as with the listed embargoed countries
and regions; See also Section 326 of
the Money Laundering Abatement Act.
The OFAC Web Site is updated
frequent|y. so members should consult
the list on a regular basis. Software
programs that allow firms to perform
this function in a more user friendly and
automated manner are available

25 Note that under the BSA, nnns must
record a current passport number or
other valid government identincation
number for transfers or transmittals of
$3,000 or more by or for non-resident
allen accounts. See 31 C.F.R. 103.33
(2001).

26 31 U.S.C. § 5318(k) (amended by
Section 319(b) of the Money
Laundering Abatement Act).

27 31 U.S.C. § 5318(]) (amended by
Section 313 of the Money Laundering
Abatement Act). Please note that
Treasury included a model certification
form in its December 2001 rule
proposa|, available at www.nasdr. com
/money.asp.

28 31 U.S.C. § 531 B(i) (amended by
Section 312 of the Money Laundering
Abatement Act).

29 Treas. Dept., Bd. of Gov. of Fed. Res.,
Comp. Of the Currency, F.D.l.C..
O.T.S. and State Dept., Guidance on
Enhanced Scrutiny for Transacfions
that May lnvolve the Proceeds of
Foreign Omcial Corruption, (Jan. 2001)
and at www.ustreas.gov/press/
releasedguidance.htm.

30 31 U.S.C. § 5318(i) (amended by
Section 312(a)(i)(4)(B) of the Money
Laundering Abatement Act).

31 31 U.S.C. § 5318(l) (amended by
Section 312(a)(i)(3) of the Money
Laundering Abatement Act).

32 31 U.S.C. § 5318(9).

33 Evidence that a broker/dealer knows
that the property involved in a financial
transaction constitutes the proceeds
of unlawful activity and nonetheless
conducts (or attempts to conduct) the
financial transaction with the unlawful
proceeds with the intent to promote
the unlawful activity or knowing that
the transaction is designed to conceal
or disguise the nature, source, or
ownership of the unlawful proceeds,
can subject a broker/dealer to criminal
prosecution. See 18 U.S.C. § 1956.

34 66 Fed. Reg. 67,669 at 67,674 (oec.
31, 2001 ).

35 Firms are also reminded to notify self-
regulatory organizations and the SEC
if they detect indicators of securities
laws violations Firms should note
that there are exceptions to the
proposed broker/dealer SAR
requirements including that a brokerl
dealer is not required to tile a SAR to
report a possible violation of any of
the federal securities laws or rules of
a self-regulatory organization by the
broker/dealer or any of its officers
or directors, employees. or other
registered representatives other than
certain mles, so long as such violation
is property reported to the SEC or
a self-regulatory organization, See 66
Fed. Reg. 67,669 at 67.676-677 (Dec.
31, 2001).

36 The FATF is an inter~govemrnenta|
body whose purpose is the
development and promotion of
policies, both at national and
international levels, to combat money
laundering The FATF monitors
members' progress in implementing
anti-money laundering measures,
reviews money laundering techniques

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and counter-measures and promotes
the adoption and implementation of
anti-money laundering measures
globally. See links to the FATF Web
Site at www.nasdr.com/money.asp.

37 See Speech by Lori Richards,
Director of Securities and Exchange
Commission's Office of Compliance
inspections and Examinations, Money
Laundenng: lt's on the SEC’s Radar
Screen (May 8, 2001); See also SlA,
Preliminary Guidance for Deten'ing
Money Laundering Activity. at 12-13
(Feb. 2002); Sarah B. Estes,
Sutherland, Asbi|l & Brennan LLP,
Securities Broker-Dealers and Money
Laundering: The Obligations of Broker-
Dealers Under Money Laundering Laws
at 5-6 (2001).

38 Firms may wish to consult FinCEN’s
Web Site for more information (see
www.treas.gov.fincen), including,
annual SAR Activity Review reports
and SAR Bu|letins, which discuss
trends in suspicious activity reporting
and give helpful tips.

39 See 67 Fed. Reg. 9873 (March 4,
2002).

40 All broker/dealers should consider using
electronic databases (such as Equifaxl
Experion, Lexis/Nexis. or other in~house
or custom databases) to verify customer
identity.

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to Members attempt to present information to
readers in a format that is easily understandablel
However, please be aware that, in case of any
misunderstanding the rule language prevails.

April 2002

 

